Case 2:01-Cr-20085-BBD Document 398 Filed 07/08/05 Page 1 of 2 Page|D 450

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IN THE UNITED sTATEs DISTRICT CoURT H‘~“~“ ' `W/

FoR THE wEsTF.RN DIsTRICT oF TENNESSEE _ 52 21
wEsTERN DlvlsloN 05 JUL 8 FH

 

UNITED STATES OF AMERICA,

Plaintiff,
VS. No. 01-20085
LARRY JOE TRUELOVE,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE HEARING

 

This cause came on upon the motion of the Defendant to continue the supervised release

violation hearing set on July 11, 2005 at 1:30 p.m. For good cause shown, the Court hereby

grants the Defendant’s motion. The hearing is hereby reset for the 35 day of

33 ge ,2005 at 330 m.@)

IT ls so 0RDERED this l day ofJuly, 2005.

     

ERNICE . DONALD
N TED STATES DISTRICT JUDGE

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Thrs document entered on the docket sheetl compliance
with Rule 55 and.for 32(b) FRCrP on 12 '(élQ§

 

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Honorable Bernice Donald
US DISTRICT COURT

